Dear Dr. Mallory:
In accordance with your request of May 24, 1978, we have reviewed the Missouri State Department of Elementary and Secondary Education's "Application for Federal Assistance — Migrant Education Program (fiscal year 1979)." This application is being submitted under Title I of the Elementary and Secondary Education Act of 1965, P.L. 89-10, as amended. See 20 U.S.C. § 241c-2.
In addition to the Elementary and Secondary Education Act of 1965, as amended, and the regulations propounded pursuant thereto (45 C.F.R. 116, October 1, 1976 edition), our review has taken into consideration Article III, Section 38(a), Missouri Constitution, and Section 161.092, RSMo Supp. 1975.
Based on the foregoing, we hereby certify that the Missouri State Department of Elementary and Secondary Education has authority under state law to perform the duties and functions of a "state educational agency" as defined in Title I of Public Law 89-10 (20 U.S.C. § 244), including those arising from the assurances set forth in the application.
This opinion letter constitutes our official certification and should be inserted in the appropriate place in each copy of the application.
Very truly yours,
                                  JOHN ASHCROFT Attorney General